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     Counsel for Lead Plaintiff Henry Rodriguez
 9   and Lead Counsel for the Class
10
                              UNITED STATES DISTRICT COURT
11                          NORTHERN DISTRICT OF CALIFORNIA
12

13   DANIEL VALENTI, Individually and On Behalf    Case No.: 3:21-cv-06118-JD
     of All Others Similarly Situated,
14                                                 PLAINTIFF’S MOTION FOR
                                Plaintiff,         ADMINISTRATIVE RELIEF TO
15                                                 EXTEND PAGE LIMITS PURSUANT
                  v.                               TO LOCAL RULE 7-11
16
     DFINITY USA RESEARCH LLC, DFINITY             Judge: Hon. James Donato
17   FOUNDATION, and DOMINIC WILLIAMS,

18                              Defendants.

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     PLAINTIFF’S MOTION FOR ADMINISTRATIVE RELIEF TO EXTEND PAGE LIMITS – No.
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 1         Pursuant to Civil Local Rule 7-11, Lead Plaintiff Henry Rodriguez, individually and on
 2   behalf of all others similarly situated (“Plaintiff”), by and through his undersigned counsel, hereby
 3   moves for an order extending its page limit to oppose Defendants’ Motion to Dismiss (Dkt. No.
 4   62) to 20 pages, which would match the number of pages Defendants were provided for their
 5   motion. Defendants do not oppose this motion.
 6         On February 16, 2022, the parties submitted a stipulated briefing scheduled which, among
 7   other things, proposed the parties have 40 pages for the opening and opposition brief, and 20
 8   pages for Defendants’ reply. See Dkt No. 55.
 9         On February 24, 2022, the Court so-ordered the stipulation regarding the briefing dates, but
10   modified the page limits. The Court ordered that “the opening brief may not exceed 20 pages, and
11   the opposition and reply briefs may not exceed 15 pages.” Dkt. No. 61.
12         On April 4, 2022, Defendants filed their Motion to Dismiss, using all 20 pages allotted for
13   substantive argument, and attached three exhibits. Plaintiff’s opposition is due on June 3, 2022.
14         Defendants’ motion raises many arguments, several of which necessarily involve the
15   discussion and explication of precedent addressing a relatively new area of the law. Having spent
16   a month working on the Plaintiff’s opposition, undersigned counsel represents that it would be
17   hindered by addressing the legal issues presented by Defendants’ motion in five fewer pages than
18   Defendants were allotted.
19         For all these reasons, Plaintiff respectfully requests that the Court enter an order extending
20   Plaintiff’s motion to dismiss opposition to 20 pages, matching Defendants’ allotment.
21   Dated: May 6, 2022                   Respectfully Submitted,
22                                               ROCHE FREEDMAN LLP
23                                  /s/ Kyle W. Roche
                                    Kyle W. Roche (admitted pro hac vice)
24                                  Edward Normand (admitted pro hac vice)
                                    Richard Cipolla (admitted pro hac vice)
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                                      Counsel for the Class
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